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 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9                               SOUTHERN DIVISION

10                                      §
     ENTROPIC COMMUNICATIONS, LLC, §
11              Plaintiff,              §
                                        §            Case No. 2:23-cv-01043-JWH-KES
12           v.                         §              LEAD CASE
                                        §            Case No. 2:23-cv-01049-JWH-KES
13   DISH NETWORK CORPORATION,          §              LEAD CASE
     et al.,                            §
14              Defendants.             §
     __________________________________ §            Hon. John W. Holcomb
15                                      §            Special Master David M. Keyzer
     ENTROPIC COMMUNICATIONS, LLC, §
16              Plaintiff,              §
                                        §            SPECIAL MASTER ORDER
17           v.                         §            No. SM-6
                                        §            AND SPECIAL MASTER MINUTES
18   COX COMMUNICATIONS, INC., et al., §
                Defendants.             §
19                                      §

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                   SPECIAL MASTER ORDER No. SM-6 AND SPECIAL MASTER MINUTES - 1
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 1         Pursuant to the Court’s July 5, 2023 Order Appointing David Keyzer, Esq. as

 2   Special Master for Discovery Purposes (Civil Action No. 2:23-cv-1043, Dkt. 74; Civil

 3   Action No. 2:23-cv-1049, Dkt. 62), and further pursuant to the Court’s grant of

 4   consolidations (Civil Action No. 2:23-cv-1043, Dkt. 129, Oct. 13, 2023 Order; Civil

 5   Action No. 2:23-cv-1049, Dkt. 95, Oct. 16, 2023 Order) and the discovery dispute

 6   resolution procedure agreed upon by the parties and adopted by the special master (Civil

 7   Action No. 2:23-cv-1043, Dkt. 85-1, Aug. 4, 2023 Special Master Order No. SM-2), the

 8   Special Master held a discovery hearing on November 3, 2023, and ruled on disputes as

 9   memorialized in Special Master Order No. SM-5 (Civil Action No. 2:23-cv-1043,

10   Dkt. 174-1, Nov. 14, 2023 Special Master Order No. SM-5) (“SM-5”).

11         SM-5 itself set a status conference for December 1, 2023, regarding relief ordered

12   in SM-5. The Court subsequently entered an Order on November 20, 2023 (Civil Action

13   No. 2:23-cv-1043, Dkt. 175) (“Order”), ruling on the Comcast Defendants’ Motion to

14   Dismiss. The Comcast Defendants requested that the Special Master vacate SM-5 in

15   light of the Order. The Special Master advised the parties that the Special Master would

16   hold a hearing on this issue as part of the December 1, 2023 status conference, and the

17   Special Master received letter briefing from the Comcast Defendants on November 28,

18   2023, and from Entropic on November 30, 2023.

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 1                              I. SPECIAL MASTER MINUTES

 2          At the December 1, 2023 status conference and discovery hearing, the parties

 3   appeared as follows:

 4
        Present for Plaintiff Entropic     Present for Comcast Defendants         Reporter
 5
             Christina Goodrich                Krishnan Padmanabhan            Megan Alvarez
 6            Katherine Allor                       Diana Leiden
              Cassidy Young                      Saranya Raghavan
 7                                                   Claire Dial
 8
            The Special Master convened the status conference and discovery hearing at
 9
     9:30 A.M. Pacific Time, heard discussion and arguments by Christina Goodrich on behalf
10
     of Entropic Communications, LLC (“Entropic”) and by Krishnan Padmanabhan on behalf
11
     of Comcast Corporation, Comcast Cable Communications, LLC, and Comcast Cable
12
     Communications Management, LLC (collectively, “Comcast” or the “Comcast
13
     Defendants”), ruled as summarized below, and adjourned at 10:18 A.M.
14
                                  II. SPECIAL MASTER ORDER
15
            The Comcast Defendants argued that because the Court has dismissed Entropic’s
16
     First Amended Complaint (albeit with leave to amend), Entropic currently has no
17
     operative complaint upon which Entropic could seek any discovery. The Comcast
18
     Defendants urged that the discovery motions are now moot and that the Special Master
19
     should vacate SM-5 in its entirety. Alternatively, the Comcast Defendants argued that
20
     the Special Master should vacate SM-5 because the Requests for Production as to which


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 1   the Special Master ordered production pertain to theories that the Order expressly

 2   rejected.

 3         Plaintiff responded that no motion to stay discovery was ever presented to the

 4   Court, and Plaintiff argued that the statement in the Order that “jurisdictional discovery is

 5   unnecessary” related to Plaintiff’s requests to obtain particular discovery prior to the

 6   Court ruling on the Motion to Dismiss. Plaintiff submitted that although the Court found

 7   such discovery unnecessary for purposes of ruling on the Motion to Dismiss, the Court

 8   did not address discovery more generally (and had not been called upon to do so).

 9         The Special Master considered various authorities cited by the parties. The

10   Comcast Defendants cited, for example, authority that “a district court lacks discretion to

11   permit a plaintiff to take discovery when she has not yet satisfied Rule 8’s plausibility

12   standard.” Gerritsen v. Warner Bros. Entm’t Inc., No. CV 14–03305 MMM (CWx),

13   2015 WL 4570081 (C.D. Cal. Mar. 2, 2015) (Morrow, J.) (citing Mujica v. AirScan Inc.,

14   771 F.3d 580, 593 n.7 (9th Cir. 2014)).

15         Plaintiff cited, for example, authority that, when a Court dismisses a complaint but

16   grants leave to amend, “previously-served discovery requests are not moot” if the

17   amended complaint “assert[s] similar claims and allegations against [the same party].”

18   In re ZF-TRW Airbag Control Units Prods. Liab. Litig., No. ML 19-2905-JAK(PLAx),

19   2022 WL 19425956, at *5 (C.D. Cal. July 25, 2022) (Abrams, M.J.) (citing Ocean

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 1   Garden Prods. Inc. v. Blessings Inc., No. CV-18-00322-TUC-RM, 2020 WL 4284383,

 2   at *4 (D. Ariz. July 27, 2020)).

 3         The Special Master interprets the Order as denying Entropic’s particular requests

 4   for jurisdictional discovery, not as closing discovery or as otherwise addressing discovery

 5   more generally. (See Civil Action No. 2:23-cv-1048, Dkt. 91, June 26, 2023 Order

 6   Denying Plaintiff’s Ex Parte Applications; see also Civil Action No. 2:23-cv-1048, Dkt.

 7   96-1, Opp’n to Comcast Defs.’ Mot. to Dismiss at 18 (“[T]o the extent the Court

 8   determines that the intent of the parties [to the VSA] is ambiguous, the Court should, in

 9   its discretion, permit limited jurisdictional discovery on these issues.”).)

10         As discussed during the December 1, 2023 hearing, the Special Master finds that

11   the parties should be afforded an opportunity to meet and confer after Plaintiff amends its

12   complaint. The Special Master expressed mindfulness that the Order found that certain

13   allegations were not plausible, and the Special Master noted that those findings related to

14   theories or assertions as alleged in the particular complaint that was operative at the time

15   of the Order. The Special Master also finds persuasive the above-cited authority that

16   prior discovery requests are not necessarily mooted by a dismissal when a plaintiff is

17   afforded leave to replead. See In re ZF-TRW, 2022 WL 19425956, at *5. The parties

18   anticipate disputing whether all, some, or none of the discovery ordered in SM-5 will

19   remain appropriate after Plaintiff files its amended pleading. To facilitate the parties

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      presenting this dispute (which the Special Master will likely characterize as a renewed

 2    motion for reconsideration of SM-5), the Special Master hereby:

 3          ( l) STAYS Special Master Order No. SM-5 until further notice;

 4          (2) ORDERS Entropic and the Comcast Defendants to meet and confer
            regarding the effect of Entropic's amended complaint with regard to SM-5
 5          no later than December 14, 2023, at 6:00 P.M. Pacific Time; and

 6          (3) ORDERS Entropic and the Comcast Defendants to submit to the Special
            Master by e-mail no later than December 18, 2023, at 5:00 P.M. Pacific
 7          Time, a joint status report with joint and/or competing proposals for a
            procedure for the Special Master to hear arguments regarding
 8          reconsideration of SM-5 (including, for example, a proposed letter briefing
            schedule and requested Special Master hearing dates).
 9
            Any requested relief that is not expressly granted above is hereby denied. No fees
10
      are awarded.
11
            IT IS SO ORDERED.
12

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      Dated: ~                  ;/0~3         By: -   ~   ------<--,<----
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15                                                    David M. Key{e 7
                                                      Special Master
16

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